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                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF MICHIGAN

IN RE:                                       §
                                             §
Robert George Esdale                         §     CASE NO. 18-02082
                                             §     HON. Scott W Dales
   Debtor(s)                                 §
                                             §

                 MOTION TO REDUCE NOTICE TIME FOR THE DEBTOR’S
                 MOTION TO INCUR DEBT AND REFINANCE MORTGAGE

   NOW COMES the Debtor, Robert G. Esdale, through Jeffrey D. Mapes PLC, and pursuant to

Bankruptcy Rules 2002(a)(2) and 9006(c), request that this Court reduce the time for notice of

the Debtor’s Motion to sell property to eight (8) days, and in support of his request, states as

follows:

   1. This Chapter 13 Case was filed on 05/04/2018.

   2. The Debtor listed an interest in his residence located at 1533 Otsego Dr., Okemos MI, 48864 (the
      “property”) which was jointly owned with his non-filing spouse.

   3. The property is encumbered by two mortgages held by Bank of America (“BofA”) and Michigan
      State University Federal Credit Union (“MSUFCU”).

   4. The MSUFCU mortgage was executed on July 9, 2004 and contained a balloon provision stating
      that the entire balance of the loan would be due fifteen years from the date of the loan.

   5. The balloon provision of the MSUFCU loan has been triggered and the Debtor and his non-filing
      spouse must either pay the balance of the loan in full, or refinance into a new loan.

   6. The Debtor and his non-filing spouse have been pre-approved to obtain a new mortgage with
      MSUFCU which would lower the Debtor’s household expenses by approximately $319.00 per
      month.

   7. In order to finalize the mortgage and close on the loan, the Debtor must have approval from this
      Court by November 25, 2019.

   8. If the Debtor is not able to refinance his mortgages, the balloon payment which is now
       due, could jeopardize the Debtor’s ability to keep his home.

   9. If the Debtor is not able to pay off the existing MSUFCU balloon payment it would jeopardize
      the Debtor’s ability to complete his chapter thirteen plan as it would dramatically increase the
      Debtor’s household expenses.
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   10. The Debtor has filed a Motion to Incur Debt and Refinance Mortgage on November 13, 2019
       [DN36] which was served upon the creditor matrix in this case on the same day.

   11. Neither this Motion nor the Debtor’s Motion to Incur Debt and Refinance Mortgage affects
       plan feasibility, nor does it change the treatment of any creditors.

   WHEREFORE, the Debtor respectfully requests that this Court enter the attached Order

Shortening the Notice Period.


Dated: 11/13/19                                 /s/Jeffrey D. Mapes
                                                Jeffrey D. Mapes, Attorney for Debtor
                                                Jeffrey D. Mapes, PLC
                                                29 Pearl St. NW, Ste. 305
                                                Grand Rapids, MI 49503
                                                Phone: (616) 719-3847
                                                Fax: (616) 719-3857
